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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
OSCAR P. BERTHELOT
VERSUS NO. 01-3489
CHARLES FOTI, LOUISIANA STATE
DEPARTMENT OF CORRECTIONS,
RICHARD STALDER, C.M. LENSING, SECTION "I" of

WARDEN, HUNT CORRECTIONAL
CENTER

Before the Court is a Motion to Sever and Transfer Based on Improper Venue or in the
Alternative Motion to Dismiss as Frivolous for Failure of Plaintiff to Comply with Court Orders and
Failure to State a Claim Upon Which Relief Can Be Granted (DOC #46) filed on behalf of
defendant, State of Louisiana Department of Public Safety and Corrections ("DPS&C") s/h/a
Louisiana State Department of Corrections, Richard Stalder, C.M. Lensing, Bob Abels, and Michael
Hegmann. The Court, having considered the unopposed motion submitted on behalf of the
Defendant, the record, the law, and applicable jurisprudence, is fully advised in the premises and

ready to rule.

 

DATE OF ENTRY
MAR 2 0 2003

 

 

 

 
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ORDER AND REASONS
I. Background:

On, November 28, 2001, plaintiff Oscar Paul Berthelot ("Berthelot") filed his Petition for
Damages ("Petition") against Charles Foti, Louisiana State Department of Corrections, Richard
Stalder, C.M. Lensing, Warden, and Hunt Correctional Center ("HCC"), with this court, Civ. No.
01-3489. Plaintiff alleges that while being transported from Orleans Parish Prison ("OPP") to HCC
on July 23, 2001, several officers mishandled his prosthetic leg which was being carried in a bag.
As aresult, Plaintiff claims the leg became inoperable and his requests to have the prosthetic leg
repaired have been denied. Plaintiff further claims the indifference to his medical condition by
defendants is a violation of the Eighth Amendment of the U.S. Constitution, the Rehabilitation Act
of 1973, Title II of the American with Disabilities Act of 1990 and laws of the State of Louisiana.
Plaintiff further alleges as a result of the correction officials denying him use of a prostheses by
refusing to repair his leg, he is now suffering from mental distress. The defendants assert that they
are entitled to have the aforementioned claims against it severed and transferred based on improper
venue or in the alternative dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil
Procedure as frivolous for failure of plaintiff to comply with court orders and failure to state a claim
upon which relief can be granted.

II. Law and Analysis
A. Motion to Transfer Venue:

In their Motion, Defendants move this Court to transfer the instant case to the Middle District
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of Louisiana and place it on the docket of that court. A district court may transfer any civil action
to any other district in which it might have been brought for the convenience of the parties and
witnesses or if such transfer is found to be in the interest of justice. See 28 U.S.C. § 1404(a). In
determining whether to transfer venue in a particular case, "the court must exercise its discretion in
light of the particular circumstances of the case." Hanby v. Shell Oil Co., Civ. A. 1:00CV331, 2001
WL 640639, at * 3 (E.D.Tex. March 5, 2001) (citing Radio Santa FE v. Sena, 687 F.Supp. 284, 287
(E.D.Tex. 1988)). In doing so, the court must balance two categories of interests: 1) the so-called
private interests, which take into account the convenience of the litigants, and 2) the public interests,
which take into account the fair and efficient administration of justice. See Hanby, 2001 WL
640639, at *3 (citing Robertson v. Kiamichi RR Co., L.L.C., 42 F.Supp.2d 651, 655 (E.D.Tex.
1999)).

In balancing the aforementioned categories of interests, courts are to consider the following
factors:

Convenience factors, [which] include: (1) plaintiffs choice of forum; (2)

convenience of parties and witnesses; (3) place of the alleged wrong; (4) location of

counsel; (5) cost of obtaining the attendance of witnesses; (6) accessibility and

location of sources of proof; and (7) possibility of delay and prejudice if transfer is

granted.

Public interest factors, [which] include: (1) administrative difficulties caused by

court congestion; (2) local interest in adjudicating local disputes; (3) unfairness of

burdening citizens in an unrelated forum with jury duty; and (4) avoidance of

unnecessary problems in conflict of laws.
Hanby, 2001 WL 6406339, at *3 (quoting Robertson v. Kiamichi RR Co., L.L.C., 42 F.Supp.2d 651,

655 (E.D.Tex. 1999)); see also Willis v. Parrot, Civ.A.No. 96-691, 1996 WL 337241, at * 4(E.D.La.
June 17, 1996).

 
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Furthermore, it is important to note that typically, unless these factors balance heavily in favor of
the defendants, the plaintiff's choice of forum should rarely be disturbed. See Willis, 1996 WL
337241, at * 4 (citing Schexnider v. McDermott Intern., Inc., 817 F.2d 1159, 1163 (Sth Cir.1987),
cert. denied, 484 U.S. 977, 108 S.Ct. 488, 98 L.Ed.2d 486 (1987); Peteet v. Dow Chemical Co., 868
F.2d 1428, 1436 (Sth Cir. 1989), cert. denied, 493 U.S. 935, 110 S.Ct. 328, 107 L.Ed.2d 318 (1989)).
However, when the plaintiff's choice of forum has no factual nexus to the case or when the plaintiff
has chosen a district other than the district in which he or she resides, then courts are to give that
choice of forum little weight. See Robertson, 42 F.Supp.2d at 656; Paul v. International Metals
Corp, 613 F.Supp. 174, 179 (S.D.Miss. 1985); 15 Charles A. Wright, Arthur R. Miller & Edward
H. Cooper, Federal Practice and Procedure § 3848 (1986).

B. Application of the Factors to the Case at Hand:

In applying the aforementioned factors to the case at hand, it is apparent that this Court
should give minimal deference to the Plaintiffs’ choice of forum. First, the Plaintiff does not reside
in this District; rather, he is a prisoner at HCC, located in St. Gabriel, Louisiana. Second, the alleged
incident that is the subject matter of this litigation occurred while in transit to HCC, which is located
in the Middle District of Louisiana. Thus, this Court should give little deference to the Plaintiffs’
choice of forum. Furthermore, there is no evidence indicating that this forum is the most convenient
forum for all parties and witnesses involved in this litigation. In fact, it seems that most witnesses
and parties are to be found outside of the Eastern District of Louisiana. These factors weigh in favor
of a transfer to the Middle District of Louisiana.

Next, the Court must consider the location of counsel as a convenience factor. However,
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this factor is to be given little weight as compared to the other convenience factors. See Robertson,
42 F.Supp.2d at 658 (citing Reed v. Fina Oil and Chemical Co., 995 F.Supp. 705, 715 (E.D.Tex.
1998)). In the present case, the Plaintiff, acting pro se, and Defendants are located in St. Gabriel,
Louisiana and counsel for Defendants are located in both New Orleans, Louisiana. Therefore,
neither the current venue nor the proposed venue "would be particularly convenient or inconvenient
for both counsel." Id. Accordingly, this factor weighs neither in favor of nor against transfer of
venue.

In addition to those convenience factors that weigh in favor of transfer to the Middle
District of Louisiana, several of the public interest factors weigh in favor of transfer. First, with
regard to any administrative difficulties caused by court congestion, it can be argued that all courts
are overly crowded with cases. However, it is significant that the Plaintiffs filed this action a mere
five months ago because it can hardly be said to have been pending before this Court for such an
extensive period of time to warrant it remaining in this District. Furthermore, this Court’s
involvement in the litigation to date has been nominal. While courts have held that the "speed of
disposition of lawsuits" without any connection to the forum District "is not a valid reason for forum
shopping," filing cases without any rational nexus to the forum district could create congestion
beyond that district’s resources. See Hanby, 2001 WL 640639, at *5; Rock Bit Internat’, Inc. v.

Smith Internat], Inc., 957 F.Supp. 843, 844 (E.D.Tex. 1997). This Court is of the opinion that "the

 

courts of this district should not be required to expend judicial resources on matters that have little
relationship to this district." Varnado v. Danek Medical, Inc., No.Civ.A. 95-1802, 1998 WL

524896, at * 3 (E.D.La. August 19, 1998). Accordingly, this factor weighs heavily in favor of a
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transfer to the Middle District of Louisiana.

III. CONCLUSION:

Given the minimal weight afforded the Plaintiffs’ choice of forum in this case, wherein there
is no factual nexus to this District and the Plaintiff does not reside in this District, the relative weight
of the remaining factors leads this Court to the conclusion that this action more properly belongs in
the Middle District of Louisiana. This Court is satisfied that the majority of both the convenience
and public interest factors weigh in favor of such a transfer. Furthermore, this court finds that the
interests of justice would be best served by transferring this case. Accordingly,

IT IS ORDERED that Oscar P. Berthelot v. Charles Foti, Louisiana State Department of
Corrections, Richard Stalder, C.M. Lensing, Warden, Hunt Correctional Center, civil action No. 01-
3489, be and the same is hereby TRANSFERRED to the United States District Court for the
Middle District of Louisiana.

New Orleans, Louisiana this 19th day of March, 2003.

 

 
 

UNITEDSSTATES DISTRIZT JUDGE
